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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


UNITED STATES OF AMERICA
                                                  :    Case No. 3:18cr15
         Plaintiff,
                                                  :    JUDGE WALTER H. RICE
vs.
                                                  :
DAVID LANDERS
                                                  :
         Defendant.



                         ORDER DELAYING EXECUTION OF SENTENCE



         For good cause shown, it is hereby ordered that the Defendant’s execution of sentence be

delayed until further notice of the Court. The United States Marshal is to seek a designation when

notified by the Court.




 July 6, 2020                                              (tp - per Judge Rice authorization after his review)
                                       __________________________________________
                                       WALTER H. RICE
                                       UNITED STATES DISTRICT JUDGE


Copies to:
Counsel of record
United States Marshal
